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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

UNITED STATES OF AMERICA                         §
                                                 §
                                                 §
                                                 §
VS.                                              §     CRIMINAL NO. H-09-029-14
                                                 §
                                                 §
RICARDO MORALES RAMIREZ                          §

                                             ORDER

       Because Kevin Hall is currently ineligible to practice before the Fifth Circuit, he is removed

as counsel for Ricardo Morales Ramirez. Magistrate Judge Mary Milloy will appoint new counsel.

              SIGNED on May 7, 2010, at Houston, Texas.


                                                     ______________________________________
                                                              Lee H. Rosenthal
                                                        United States District Judge
